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                                                                                    FILED BY                    .C.
                                        UNITED STATES DISTRIG COURT
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                                   FORTHE SOUTHERN DISTRIG OFFLORIDA                       ANGELA E.NOBLE
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                                                                                          .D.OFFLA.-F'1:LAUD.


                                          CASE NO.:0:19-cv-62181



                                                                            AM ENDED COM PLAINT

         W ILHELRM STEDDYS ANDRE,

         Plaintiff,

           V.

         RYAN T.BIRO, CLAYTON ROBERSON, CARY DD EAN,THOM M JR.NELSON,PAULHORM ANN,
          W ILLIAM ,LUIS CASTRO individually,Capacity asa City ofSunrise Police Officers,The City of
          Sunrise.



         Defendant.                                           /


         VERIFIED COM PLAINTAND DEM AND FORJURYTRIAL

         PlaintiffW ILHELRMSTEDDYSANDRE(''Mr.Andre'')suesDefendantRYAN T.BIRO ('r fficer
          Biro''),and insupportthereof,states:
         NTRODUCTION

         This isa civilrightsaction on behalfofM r.Andrew hose rightsunderthe Fourth Am endm entto
          the United StatesConstitutionw ere violated byOfficerBiro,an officerofthe Sunrise Police
          Department(the''SPD''),whileOfficerBiro wasoperating undercolorofauthorityforthe City
          ofSunrise(the''City'').OfficerBiro usedexcessiveforceagainstMr.Andreandfalselyarrested
          and falsel
                   y im prisoned M r.Andre.

         M r.Andre seeksredressforthe violationsofhis rights,privileges,and im munitiesasguaranteed
          bytheCivilRightsAd of1871,42 U.S.C.ï 1983,the FourthAmendmenttotheUnitedStates
          Constitution,and the IawsofFlorida.

         JURISDICTION AND VENUE

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     JurisdictionofthisCourtarisesunder28U.S.C.ï1331,and28 U.S.C.1 1343(a).
     SupplementaljurisdidionoverMr.Andre'sadditionalstate Iaw claimsisproperpursuantto 28
      U.S.C.j1367(a)becausetheyinextricablyrelatedto M r.Andre'sfederalclaims.
     VenueinthisDistrictisproperunder28 U.S.C.j 1391(b)because aIItheeventsandomissions
      com plained oftook place in the Southern Distrid ofFlorida.

     Allconditionsprecedentto the maintenance oflhisaction have been perform ed orhave
      occurred priorto its institution.

     PARTIES

     M r.Andre isa citizen ofthe United R ates,a residentofthe State ofFlorida,ofAfrican Am erican
      descent,andsuijuris.
     AtaIltim esmaterial,OfficerBiro w asan em ployee ofthe City and em ployed bythe City asa
      police ol cerwiththeSPD (#3724).AtaIItimesmaterial,OfficerBirowasanemployee anda
      sworn Iaw enforcementofficerofthe SPD.OfficerBiro isbeing sued in hisindividualcapacity.
      AtaIltim esm aterial,OfficerBiro wasading asan agentand em ployee ofthe City and was
      ading underthe colorofs'tate Iaw.

     ln connection with the acts,practicesand violationsalleged below,OfficerBiro,w hile ading
      within the course and scope ofhisem ploym entwith the City,and undercoloroflaw,directly
      violated M r.Andre'sclearly established constitutionalrightsaswellasviolated statutow and
      com mon Iaw dutiesowed to M r.Andre.

     BACKGROUND AND GENERALALLEGATIONS



     On April3,2017,M r.Andre,togetherw ith hiscousin,Desm ond,and aunt,Yvonne,were
      enjoyingfamilyvacationattheSawgrassGrand Hotel,I
                                                     ocatedinSunrise,Florida.Oncesettled
      inthehotelroom,Mr.Andreandhisfamilywantedto enjoythe nightouttogether.W hile
      Desmond and Yvonne prepared inside the hotelroom forthe outing,M r.Andre waited outside
      inthe frontpassengerseatofYvonne's black M ercedes.

     Itwaspastmidnightas M r.Andre satthere waiting,and he eventually dozed offin the
      passengerseatofthe M ercedes.

     Atapproximately2:00a.m.,Mr.Andrewasjolted awake byanintenselybrightandfocused
      beam ofIi ghtthatwasshining diredly onto hisface.Dazed and confused,M r.Andre
      instinctivelyshielded hiseyesfrom the blinding Iight and in doing so,noticed anothercarhad
      parkedperpendicularto his(thepassenger'sside)door,seeminglypinningthe passengerdoor

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      closed.

     OnceM r.Andre'seyesadjustedtotheintense Iight,Mr.Andre noticedapoliceofficer-officer
      Biro- standingdired ly outside ofhisdoorwith aflashlightin his hand.Before M r.Andrecould
      sayan# hing,Ietaloneprocesswhatwashappening,OfficerBirodemanded Mr.Andre
      produce identification.Scared and confused,M r.Andre rem oved hisdriver's license from his
      wallet,and before M r.Andre could extend hisarm to w illfully provide his Iicense to Officer
      Biro,OfficerBiro Iurched forward and attem pted to quickly snatch itfrom M r.Andre'sgrasp.

     Suddenl y and w ithoutreason orprovocation,OfficerBiro aggressively grabbed M r.Andre,by
      his head and arm,and proceeded to forcefully rip M r.Andre from 1he M ercedes.Atno pointin
      tim e did OfficerBiro askM r.Andre to step outofthe M ercedes,provide any explanationto
      M r.Andre,oranswerany ofM r.Andre'squestions.

     M oreover,w hile forcefully rem oving M r.Andrefrom the M ercedes,OfficerBiro wasshouting at
      M r.Andre and called M r.Andre a ''nigger.''

     Despitethe excessive and unnecessary force w hich OfficerBiro exerted to rem ove M r.Andre
      from the M ercedes,and despite such removalbeing againsthis,M r.Andre did notresistor
      fightagainstOfficerBiro.

     Aftercom pletely rèm oving M r.Andre from the vehicle,calling M r.Andre a ''nigger,''and
      com pletely incapacitating him,OfficerBiro handcuffed M r.Andre and forcefully shoved him
      into the backofhis police vehicle.

     With M r.Andre handcuffed and Iocked inside hisvehicle,OfficerBiro searched the entirety of
     the M ercedes.In asealed box,insidethe dosed trunkofthe M ercedes,afirearm was
     discovered.The firearm in question belonged to Desm ond.

     Critically,instead ofcorred ly docum enting where and how the firearm came to be discovered,
      Ietalone properl  y investigate the m atterany further,OfficerBiro falsely reported thatthe
      firearm had be found underthe seatof'     the M ercedes.W orse,OfficerBiro,in an attem ptto
     justifytheexcessiveforceheutilizedagainstMr.Andre,aswejlasjustifythe unlawful
      confinem entand seizure ofM r.Andre,OfficerBiro falsely reported thatM r.Andre had
      repeatedlyattem pted to reach forthe firearm despite being com m anded to stop.

     Asa resul
             tofOfficerBiro'sad ions,M r.Andre suffered and conlinuesto suffercountless
      injuries.Mr.Andrewasinjailformanymonthsasaresultofthefalsearrestandmalicious
      prosecution.M r.Andre wascharged undercrim inalcase num ber17003884CF10A.

     OnAugust14,2018,ajuryacquitted M r.Andreofthecharges.
                                                COUNT I


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     42U.S.C.ï 1983- FaldeArrest/lmprisonment
     M r.Andre incorporatesparagraphs1 through 21as iffully setforth herein.

     AtaIItim es malerial,M r.Andre had a constitutionally protected rightto befree from
      unreasonable searchesand seizuresorfrom beingsubjededto aseizureorarrestwithout
      probable cause and m aintained the rightto be free from unlaw fulassault, proteded rights
      underthe Fourth and Fourteenth Am endm entsofthe United States Consti     tution.

     OnApril3,2017,OfficerBiro,o/ cerDejean,officerCastro,officerNelsonand officerHormann
      and officerRoberson unlaw fully detained and deprived M r. Andre ofhisIiberty,againstM r.
      Andre'swill,and withoutIegalauthority.

     Atno pointin time did theseofficershave any reasonable orarticulable suspicion, Ietalone
      probablecause,thatwould supporta constitutionalseizure orarrestofM r. Andre.

     On April3,2017,w ithom any reasonable orarticulable suspicion, and withoutprobable cause,
      OfficerBiro caused M r.Andreto be detained,arrested,and searched, aIIofwhich are in
      violation ofclearlyestablished Iaw .

     AtaI1tim esmaterial,any reasonably com petentol cerhaving a reasonable degree ofto ining
      andexpertiseshould haveknownthattherewasnoconstitutionalorIegallyjustifiablebasisto
      arrestM r.Andre.

     AtaIItim esm aterial,itw asa clearly established violation ofM r.Andre'sconstitutionalrightto
      befreefrom unreasonablesearchesand seizuresandtobesubjectedto asearchandarrest,
      w hen no reasonable orarticulable suspicion orprobable causeofany crim inalad ivityexisted
      to seize orarrestM r.Andre.

     Atalltim esmaterial,these officersin arresting M r.Andre concealed,suppressed, om itted,and
      m ischarad erized materiall ds,statem ents,and otherwise evidence, ofw hich these om cers
      had know ledge,in violation ofM r.Andre's rightsofdue process.

    AtaIItimes material,Om cers Biro,Nelson,Hem ann,Cestero, Dejeanand Robersondi         d
     know ingly,orwith recklessdisregard forthe truth,prepare, caused to be prepared,or
     participated in the preparationof,an intentionally false and m isleading reportto supportthese
     om cersunconstitutionalarrestand search ofM r.Andre.

    AtalItim es material,any reasonably com petentIaw enforcem entom cerswith adequate
     training should have known thatthe adionsbeing taken,with resped to the arrestand search
     ofM r.Andre,was im proper,unconstitutional,and Iikelyto resultin the violation ofthe
     constitutionalrightsofM r.Andre.

    OnApril3,2017,theseofficers,Biro,Belsob,Dejean,Roberson,and Hermann intendedto
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      cause and did cause,offensive contactwith,and unconsented touching of, the body ofM r-
      Andre,w hile acting underthe colorofIaw.

     Atalltim es material,itwould have been readilyapparentto a reasonably com petentand
      trained police officer,having due regard forM r.Andre'sconstitutionalrights, thatthe use of
      physicalforce em ployed againstM r.Andre,withou:him offeringany physicalthreator
      resistance,wasunjusti
                          fied,unwarranted,and otherwise aviolationofclearl
                                                                          yestablishedIaw
      and M r.Andre'sconstitutionalrights.

     The ad ionsofthese officersviolated M r.Andre'sclearly established Fourth Amendm entrights,
      andareaspnable policeofficerwould have understoodthattheactionsand/oromissionsof
      these officersdid violate such righu .

     Asa directand proxim ate resultofthe false im prisonm ent, assault,and battery,M r.Andre has
      suffered pain and suffering,m entalanguish,em otionaldistress, and lossofcapacityforthe
      enjoymentofIife.
     W HEREFORE,PIaintX W ILHELRM S TEDDYS ANDRE, respedful  ly,seeksentryoffinaljudgment
      againstthis Defendantforcom pensatoryand punitive damages, aswellas,costs,and attorney
      feesandsuchotherreliefthatthe Courtdeemsjustand proper.
                                               COUNT 11

     42 U.S.C.ï 1983- AssauIt& Battery
     M r.Andre incorporatesparagraphs1 through 21as iffully setforth herein.

     AtaIItim esmaterialhereto,M r.Andre had a constitutionally protected rightto be free from
      the useofexcessiveforcewithoutjustification.
     OnApril3,2017,OfficerBiro intended to cause,and did cause, offensive contad with,and
     unconsented touching of,the body ofM r.Andre,w hile acting underthe colorofIaw .
     AtaIItim es material,itwould have been readily apparentto a reasonably com petentofficer,
      having due regard forM r.Andre'sconstitutionalrights, thatthe use ofphysicalforce employed
      againstM r.Andre,w ho w asm erely verbally expressing criticism w ithoutoffering any physical
     threatorresistance,wasunjustifiedandinviolationofclearlyestablished law.
     M alltim esmalerial,any reasonabl
                                     y com petentofficerhaving an adequate degree oftraining
     andexpertisewouldhave knownthattherewasno constitutionalorlegallyjustifiablebasisto
     usethedegree and/orIevelofforceexercised byOfficerBiroagainstMr.Andre.
    Atno pointin time did OfficerBiro haveany reasonable orarticulable suspicion, Ietalone
     probable cause,thatw ould supporta constitutionalseizure orbattery ofM r. Andre.
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     AtaIItim esm aterial,OfficerBiro concealed,suppressed,om itted and m ischaracterized material
      facts,statem ents,and otherwise evidence,ofw hich OfficerBiro had knowledge,in violation of
      M r.Andre'srightsofdue process.

     AtaIItimes m aterial,OfficerBiro know ingly,orwith recklessdisregard forthe lruth,prepared,
      caused to be prepared,orparticipated in the preparation of,an intentionallyfalse and
      m isleading reportto supportOfficerBrio'sunconstitutionalbatteryofM r.Andre.

     AtaIItimesmateriatany reasonablycompetentIaw enforcementofficerwithadequatetraining
      would have know nthatthe actionsbeingtaken,w ith resped to the use ofexcessive force
      againstM r.Andre,were im proper,unconstitutional,and Iikelyto resul
                                                                        tin the violation ofthe
      constitutionalrightsofM r.Andre.

     The adionsofOfficerBiro violated M r.Andre'sclearly established Fourth Am endm entrights,
      andeveryreasonablepoliceofficerwouldhaveunderstoodthattheactionsand/oromissions
      ofOfficerBiro did violate such ri
                                      ghts.

     Asa dired and proximate resultofthe w rongfulconductofOfficerBiro,the constitutional
      rightsofM r.Andre were violated and abridged,causing M r.Andre to sufferem otionaldisttess,
      publichum iliation and em barrassment,dam age to hisgood nam e and reputation,Iossof
      personalliberty,and sustained othergeneraldam ages.

     Asa directand proximate resultofthe unlawfulbatterwM r.Andre hassuffered mentalanguish,
      pain,continuoussuffering,emotionaldistress,and lossofcapacityfortheenjoymentofIife.
     W HEREFORE,PIaintX W ILHELRMSTEDDYSANDRE,respedfully,seeksentryoffinaljudgment
      againstRYAN BIRO forcom pensatoryand punitive damages,aswellas,costs,and attorney
      feesandsuch otherreliefthatthe Courtdeemsjustandproper.
                                       COUNT IIIFalse Im prisonm ent

     M r.Andre incorporatesparagraphs 1through 21 asiffullysetforth herein.

     Thisisan action underthe com mon Iaw ofthe State ofFloridaforfalse im prisonm ent.Such
      claimsarisefrom acommon nucleusofoperativefactsastheviolationsof42U.S.C.ï1983,as
      setforth above.

     OnApril3,2017,OfficerBiro,OfficerNelson,OfficerCastro,OfficerDejean,OfficerHormann
      and OfficerRobersonading in &he course and scope ofhisemploymentasa policeofficerfor
      the City,caused M r.Andre to be seized,detained,arrested,and deprived M r.Andre ofhis
      Iiberty,againsthiswilland withoutlegalauthority to do so,despite hisdesiresto Ieave,and
      wasdone with malice,bad faith orwanton orw illfuldisregard forthe safety ofM r.Andre's
      well-being.


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     Atno tim e did these officershave any reasonable orarticulable suspicion orprobable cause
      thatwould supporta constitutionalseizure orarrestofM r.Andre.

     On April3,2017,notwithstanding having zero reasonable orarticulablesuspicion and without
      probable cause,OfficerBiro caused M r.Andreto be arrested and searched,aIIinviolation of
      clearly established Iaw .

     Asadirectand proximate resultofthefalseimprisonment,M r.Andrehassuffered bodilyinjury,
      painandsuffering,mentalanguish,IossofcapacityforenjoymentofIife,Iostwages,andIoss
      ofabilitytoearnmoney.These injuriesand Iossesare permanentand continuing,and Mr.
      Andre willsuffersuch Iosses in thefuture.

     W HEREFORE,PIaintX W ILHELRMSTEDDYSANDRE,seeksentryoffinaljudgmentagainst
      DefendantRYAN BIRO, OfficerNelson,OfficerCastro,OfficerDejean,OfficerHormann,and
      OfficerRoberson compensatory and punitive dam ages,aswellascosts,attorney fees,and
      suchotherreliefthattheCourtdeemsjustand proper.
     COUNT IV

     Assaultand Battery

     M r.Andre incorporates paragraphs1-21asthough fully setforth herein.

     Evenassum ing thatOfficerBiro had probable cause to seize and search M r.Andre,the am ount
      offorceOfficerBiro used in effectuating M r.Andre'sseizure w asunlaw fuleven ifthe seizure
      itsel
          fwasvalid.

     Thisisan ad ion underthe com mon law ofthe State ofFloridaforassaultand battery. Such
      claimsarisefrom acommonnucleusofoperativefadsastheviolationsof42U.S.C.ï 1983,as
      setforth above.

     The condud ofOfficerBiro on April3,2017,in approaching beating M r.Andre,and em ploying
      excessiveforce to do so,wasintentionaland intended to cause a harmfuloroffensive contact
      with the person ofM r.Andre.

     OfficerBiro'sactionscreatedawell-foundedfearinM r.Andrethatdeathorseverebodilyinjury
      w asim m inent.

     The condud ofOfficerBiro wascom m itted within the course and scope ofhisem ploymentwith
      the County,and wasdone with malice,bad faith orwanton orwillfuldisregard forthe safety of
      M r.Andre'swell
                    -being.

     Asadirectandproximate resultoftheactsallegedabove,Mr.Andresufferedbodilyinjuryand
      resultedinpainandsuffering,mentalanguish,Iossofcapacityofenjoymentoflife,Iostwages

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      and Iossofabilitytoearnmoney.TheseinjuriesandIossesarepermanentandcontinuing,and
      M r.Andre willsuffersuch Iossesin thefuture.

     W HEREFORE,PIainMW W ILHELRMSTEDDYSANDRE,seeksentryoffinaljudgmentagainst
      DefendantRYAN BIRO forcom pensatol and punitive damages,aswellascosts,attorneyfees,
      andsuchotherreliefthattheCourtdeemsjustand proper.
     DEM AND FOR JURYTRIAL

     PlaintiffW ILHELRMSTEDDYSANDRE,respedfully,herebydemandsatrialbyajuryofaIlissues
      so triable.

     VERIFICATION

     1,W ILHELRM STEDDYS ANDRE,have reviewed thisCom plaint.Ihave personalknow ledge asto
      the factsconcerning m yselfin the Com plaint,and Iknow orbelieve them to be true.Asto the
       allegation ofw hich Ido nothave personalknowledge,Ibelieve them to betrue based on
       infor tio nd belief.
                     :'
                    a.




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